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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

Case No.        CV 16-2859-CAS (GJSx)                                               Date   July 17, 2018
Title           MACOM Technology Solutions Holdings, Inc., et al. v. Infineon Technologies AG, et al.



Present: The Honorable       GAIL J. STANDISH, U.S. MAGISTRATE JUDGE
                      E. Carson                                                      XTR
                    Deputy Clerk                                      Court Reporter / Recorder

          Attorneys Present for Plaintiff(s):                    Attorneys Present for Defendant(s):
                 Elizabeth M. Banzhoff                                        Brian D. Johnston
                                                                              Jeffery D. Baxter
                                                                              Linda M. Burrow




Proceedings:              Telephonic Hearing re: Parties’ Discovery Motions:
                          1. Defendants’ Motion to Compel Discovery Responses (Dkt.
                             513);
                          2. Defendants’ (Second) Motion to Compel Discovery Responses
                             and Production of
                             Documents (Dkt. 530)
                          3. Plaintiffs’ Motion to Compel Discovery (Dkt. 535)


After the Parties’ motions were filed, the case was transferred to this Court, which held a
telephonic discovery status conference. The Parties were directed to further meet and
confer to narrow, if possible, the issues presented in the three pending motions. The
Parties successfully resolved several issues, so that only those that are set forth below
remained.

On July 17, 2018, the Court held a telephonic hearing on the remaining issues. The case
was called and appearances stated for the record. For the reasons stated on the record, the
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                              UNITED STATES DISTRICT COURT
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                                     CIVIL MINUTES – GENERAL

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Court ruled as follows:

    1. Defendants’ (First) Motion to Compel Discovery Responses:

         a. Sufficiency of Plaintiffs’ response to Defendant’s Interrogatory No. 10

                The Court finds that Defendants’ Interrogatory No. 10 is overbroad and in some
                respects, premature, as it essentially sought all factual and legal bases, as well
                as final calculations and conclusions, in support of Plaintiffs’ alleged damages.
                In other words, Defendants in essence sought a complete expert report in the
                context of a single interrogatory. Thus, to the extent Defendants seek detailed
                legal contentions in the form of calculations of, for example, lost profits, the
                request for further supplementation is denied.

                Defendants are, however, entitled to know the specific facts supporting
                Plaintiffs’ alleged damages. Plaintiffs are ordered to supplement this
                interrogatory response, keeping in mind the Court’s admonition to both sides
                that any information not timely disclosed in discovery will likely be excluded
                from use later in the case absent a showing of good cause for late production
                and lack of prejudice to the opposing party.

         b. Defendants’ Request For Production (“RFP”) 216

                This RFP seeks documents underlying the summary spreadsheets the Parties
                described, samples of which were provided in the Parties’ briefing. For the
                reasons stated on the record, the Court orders Plaintiff to provide definitions
                and brief descriptions of the 99 categories of data captured by the database from


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

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                which the summary spreadsheets were produced.1 The Parties will then meet
                and confer about a reasonable number of data fields Defendants believe they
                require. If the Parties are in agreement as to what thereafter needs to be
                produced, no further interaction with the Court is required. Otherwise, the
                Parties will report back to the Court as set forth in the Order below.

    2. Defendants’ (Second) Motion to Compel Discovery Responses and Production of
       Documents:

                a. Defendants’ Interrogatory No. 18

                   This interrogatory seeks, among other information, specific information on
                   offers for sale and lost opportunities that Plaintiffs contend support their
                   alleged damages. The Parties are referred to the transcript for further detail,
                   but as set forth above, the Court finds that Defendants are entitled to know
                   the specific facts supporting Plaintiffs’ alleged damages. (The Court notes
                   that Plaintiffs have provided much of this information). To the extent
                   Plaintiffs have additional facts not already disclosed that they contend
                   support their damages claims, they must supplement their interrogatory
                   response. Again, the Court admonishes both sides that any information not
                   timely disclosed in discovery will likely be excluded from use later in the
                   case absent a showing of good cause for late production and lack of
                   prejudice to the opposing party.

                b. Defendants’ Interrogatory No. 11 and Request for Production 135

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        This same procedure applies to the second database identified by Plaintiffs on the record
(which Plaintiff avers has some 500 potential datafields, although many may not be populated).
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

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                   Both of these discovery requests seek information regarding Plaintiffs’
                   corporate structure and sales distribution channels during the relevant time
                   period discussed on the record. The Court orders Plaintiffs to provide a
                   narrative response to Interrogatory 11, but the request for production of
                   additional documents is denied at this time.

                c. Defendants’ Request for Production No. 38

                   Broadly speaking, this request seeks all license agreements related to
                   MACOM technology, whether or not related to the patents-in-suit. The
                   Court finds that the request is overbroad, but that Defendants are entitled at
                   this point to discovery related to patents in the same “field” covering similar
                   technology, as further discussed during the hearing. To this end, the Parties
                   are ordered to engage in a further meet and confer process as described on
                   the record (including, as an initial step, Plaintiffs’ provision to Defendants of
                   a list of their patents).

                d. Defendants’ Interrogatory No. 17

                   This interrogatory seeks detailed information related to what Defendants
                   term “key individuals.” The Court finds the interrogatory, as written, to be
                   overly burdensome for the reasons stated during the hearing. Plaintiffs are,
                   however, to provide basic information, including name, title, and a brief job
                   description, for the types of personnel identified in the interrogatory. These
                   types of individuals should be identified for persons working on both GaN-
                   Si and GaN-SiC technology.


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

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    3. Plaintiffs’ Motion to Compel Discovery:

                a. Plaintiffs’ Interrogatory No. 12

                   Defendants are ordered to provide a further response to Plaintiffs’
                   interrogatory seeking their non-infringement arguments.

                b. Plaintiffs’ Interrogatory No. 13

                   Plaintiffs’ request for a further response to Interrogatory No. 13 – seeking an
                   explanation for why Defendant denied each of over 170 requests for
                   admission – is denied. This request is overly burdensome and seeks to
                   conflate the purpose of requests for admissions and interrogatories such that
                   Defendants would have to answer over 170 interrogatories disguised as a
                   single question.

                c. Plaintiffs’ RFPs Nos. 88 and 104-188

                   Through these requests for production, Plaintiffs seek “all documents”
                   supporting Defendants’ affirmative defenses. This request, as written, is
                   overbroad. However, it is clear what Plaintiffs are seeking, which are the
                   document Defendants contend support the defenses they have pled.
                   Defendants are ordered to produce such document, or face the possibility
                   that they will be precluded from using them at trial.

      The Court directs counsel to further meet and confer to resolve or narrow any
remaining discovery issues.


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

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       The Parties’ supplemental responses, with the exception of the database lists (with
definitions) but including Plaintiffs’ patent list, shall be served no later than August 1,
2018. The database lists are due no later than August 15, 2018. Plaintiffs shall, however,
endeavor to provide those lists on the earliest possible date.

       Further, the Court directs the parties to report back to the Court via the Court’s
chambers email address regarding the status of the production and related discovery by
no later than August 1, 2018.

IT IS SO ORDERED.

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